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                   IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF OREGON
                             EUGENE DIVISION

 DEBRA JOAN COATES GRIFFIN                     Case No.: 6:24-CV-0243-MC
 and ROBERT HESSEE,
 individually and on behalf of all
 others similarly situated,                    PLAINTIFFS’ OPPOSITION TO
                                               DEFENDANT’S MOTION TO
              Plaintiffs,                      DISMISS
                 v.

 AMERICAN-AMICABLE LIFE
 INS. CO. OF TEXAS,

              Defendant.

I.      INTRODUCTION

        Plaintiffs Debra Joann Coates Griffin (“Plaintiff Griffin”) and Robert Hessee

(“Plaintiff Hessee”) (together referred to as “Plaintiffs”) filed this putative class action

complaint after Defendant American-Amicable Life Ins. Co. of Texas (“Defendant”) or

their agents engaged in illegal telemarketing solicitation against them. In every phone call,

Defendant or Defendant’s agents promoted Defendant’s products despite: (1) Plaintiffs’

registration on the National Do-Not-Call list and (2) Plaintiffs’ repeated requests to cease



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telephonic solicitation, in violation of the Telephone Consumer Protection Act, 47 U.S.C.

§ 227 et seq. (“TCPA”).

         Defendant asks this Court to dismiss under Federal Rules of Civil Procedure

(“FRCP”) 12(b)(6) and 12(b)(1). Defendant argues against: (1) Plaintiff’s theory of

Defendant liability; (2) Plaintiff’s Caller ID allegations; and (3) Plaintiff’s standing under

Article III of the U.S. Constitution to seek injunctive relief.

         Contrary to Defendant’s arguments, Plaintiff properly alleged Defendant’s

liability, asserted grounds for violations of the FCC’s Caller ID regulation, and has

standing to seek injunctive relief. For these reasons, and others, explained more fully

below, this Court should deny Defendant’s Motion to Dismiss.

II.      STATEMENT OF FACTS

         A. Plaintiff Robert Hessee

         In May of 2022, Plaintiff Robert Hessee, a retiree, received numerous calls to his

cellular phone despite his registration on the National Do Not Call Registry since June 14,

2008. First Amended Complaint (“FAC”) ¶¶ 27-28.

         On May 16, 2022, Defendant or Defendant’s agent called Plaintiff Hessee from the

number and introduced themselves as Sam with Funeral Expense. FAC ¶ 29. When Sam

attempted to sell Plaintiff Hesse life insurance, Plaintiff Hesse expressed disinterest in

Defendant’s services and hung up. Id. The next day, Sam from Funeral Expense once

again called Plaintiff Hesse; however, this time Sam “explicitly informed Plaintiff Hesse

that they were calling on behalf of American Amicable.” Id. at ¶ 30. Sam again attempted



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to sell Plaintiff Hesse life insurance, and Plaintiff Hesse “told them he was not interested.”

Id.

       On May 19, 2022, for the third time, Sam from Funeral Expense called Plaintiff

Hesse and “explicitly said that they were calling on behalf of American Amicable to solicit

the sale of life insurance.” Id. at ¶ 31. Sam transferred the call to two individuals: Ronnie

Evans and Robert Radcliffe. Id. Both Mr. Evans and Mr. Radcliffe advertised Defendant’s

life insurance products. Id. Notably, Mr. Radcliffe “is a licensed insurance producer with

the National Association of Insurance Commissioners.” Id. at ¶ 32. “The company name

associated with his license” shows “American-Amicable Life Insurance Company of

Texas.” Id.

       B. Plaintiff Debra Joann Coates Griffin

       Plaintiff Griffin “registered her phone number on the National Do Not Call

Registry on August 24, 2021.” Id. at ¶ 35. “Between February and March of 2023

Defendant called Plaintiff Griffin…at least three times.” Id. at ¶ 37.

       On February 10, 2023, Defendant or Defendant’s agent called Plaintiff Griffin. Id.

at ¶ 38. The caller identified as Senior Final Expenses calling on behalf of American

Amicable. Id. The caller tried to sell Plaintiff Griffin life insurance, but Plaintiff Griffin

said she did not want to speak with them over the phone. Id. Disregarding Plaintiff Griffin,

the caller transferred her to Benjamin Angels who “tried to sell her the same life insurance

and explicitly stated they did so on behalf of American Amicable.” Id. Plaintiff Griffin

“expressed disinterested and hung up[.]” Id. When trying to call Mr. Angels back, a



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prompt says, “the text mail subscriber is not working.” Id. at ¶ 39.

       On March 2, 2023, Defendant or Defendant’s agent called Plaintiff Griffin. Id. at ¶

40. The caller again identified themselves as Senior Final Expenses calling on behalf of

American Amicable. Id. The caller tried to sell Plaintiff Griffin life insurance. Id. “Plaintiff

Griffin reiterated her disinterest” and the caller transferred her to Sarah Angle who “also

tried to sell Plaintiff Griffin life insurance, explicitly referencing that they did so on behalf

of American Amicable.” Id. “Plaintiff Griffin explained she did not want to speak over

the phone.” Id.

       On March 7, 2023, Defendant or Defendant’s agent called Plaintiff Griffin for the

third time. Id. at ¶ 41. As like each time prior, the caller identified themselves as Senior

Final Expenses calling on behalf of American Amicable. Id. Again, the caller tried to sell

life insurance to Plaintiff Griffin, and again Plaintiff Griffin said she did not want to

communicate over the phone. Id. Unfortunately, as with all the prior times, the caller

transferred Plaintiff Griffin to a separate agent named Mark Simmons. Id. “Mr. Simmons

also tried to sell Plaintiff Griffin life insurance, explicitly referencing that they were doing

so on behalf of American Amicable.” Id.

       “Most, if not all, of Defendant’s unsolicited telemarketing phone calls—including

hose that when called back prompted that ‘the text mail subscriber is not working’—did

not display the requisite caller ID information in violation of 47 C.F.R. § 1601(e), as

promulgated by 47 U.S.C. § 227(c).” Id. at ¶ 51.




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III.   LEGAL STANDARD

       A. Rule 12(b)(6)

       Rule 12(b)(6) permits the dismissal of a case if the complaint “fail[s] to state a claim

 upon which relief may be granted.” Fed. R. Civ. P. 12(b)(6). A Rule 12(b)(6) motion “is

 viewed with disfavor and is rarely granted.” Gilligan v. Jamco Develop. Corp., 108 F.2d

 246, 249 (9th Cir.1997). The Court accepts all complaint allegations as true, considers

 them as a whole, and draws all reasonable inferences in Plaintiff’s favor. Association for

 L.A. Deputy Sheriffs v. County of Los Angeles, 648 F.3d 986, 991 (9th Cir. 2011).

 Plaintiffs are not required to plead “detailed factual allegations” to state their claims

 under Rule 8. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007); Erickson v. Pardus,

 551 U.S. 89, 93 (2007) (“Specific facts are not necessary; the statement need only give

 the defendant fair notice of what the claim is and the grounds upon which it rests.”)

 (citations and alteration omitted). Plaintiffs need only set forth enough facts to state

 claims that are facially plausible. Johnson v. Riverside Healthcare Sys., LP, 534 F.3d

 1116, 1123 (9th Cir. 2008). “A claim has facial plausibility when the plaintiff pleads

 factual content that allows the court to draw the reasonable inference that the defendant

 is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678. Thus, plausibility is a

 “context-specific task that requires the reviewing court to draw on its judicial experience

 and common sense.” Id. at 679.

       B. Rule 12(b)(1)

       Under FRCP Rule 12(b)(1), a court may dismiss an action for “lack of subject-



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matter jurisdiction.” “A Rule 12(b)(1) jurisdictional attack may be facial or factual. Safe

Air For Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004). “In a facial attack, the

challenger asserts that the allegations contained in a complaint are insufficient on their

face to invoke federal jurisdiction.” Id.

IV.      ARGUMENT

         A. Plaintiffs Adequately State a Claim of Direct Liability Against Defendant,

             and Alternatively, States a Claim of Vicarious Liability Against

             Defendant’s Agents.

         Despite all facts pointing to Defendant’s involvement in the phone calls at issue,

Defendant claims that Plaintiff has not plausibly pled that Defendant was responsible for

them. “To ‘make’ a call under the TCPA,” and thus become liable, “the person must either

(1) directly make the call, or (2) have an agency relationship with the person who made

the call.” Ewing v. Encor Solar, LLC, 2019 WL 277386, at *6 (S.D. Cal. Jan. 22, 2019)

(citing Gomez v. Campbell-Ewald, Co., 768 F.3d 871, 877-79 (9th Cir. 2014)). “The Ninth

Circuit has emphasized that ‘calls placed by an agent of the telemarketer are treated as if

the telemarketer itself placed the call.'” Hewlett v. Consol. World Travel, Inc., 2016 U.S.

Dist. LEXIS 112553, at *12 (E.D. Cal. Aug. 23, 2016) (citing Gomez, 768 F.3d at 878

(rejecting the argument that a defendant “cannot be held liable for TCPA violations

because it outsourced the dialing and did not actually make any calls”)).Plaintiffs have

adequately pled both.1


1
    Agency is an incredibly fact intensive inquiry that is not suitable for full adjudication


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              i. Direct Liability

       Plaintiffs plausibly alleged direct liability as the complaint refers to three separate

phone calls received by each Plaintiff Hessee and Plaintiff Griffin, all of which promote

Defendant’s products. Moreover, the initial callers and subsequent agents repeatedly

established that they called on behalf of American Amicable.

       “To establish direct liability, the complaint must allege facts showing the defendant

actually placed calls violating the TCPA.” Wokeman v. CarGuard Admin. Inc., 2024 U.S.

Dist. LEXIS 11476, at *5 (D. Ariz. Jan. 22, 2024).

       If a caller associates with a specific company, it is plausible to believe that that

company is directly liable for the calls. Wokeman, 2024 U.S. Dist. LEXIS 11476. In

Wokeman, the plaintiff received a prerecorded message, followed the phone prompts, and

got transferred to two individuals. Id. at *6. The final person that plaintiff spoke to emailed

him a contract between Plaintiff and the Defendant. The Court relied on this interaction

alongside allegations that “Defendant itself called Plaintiff[,]” to hold that the plaintiff

“alleged sufficient facts that support a plausible inference that Defendant personally

placed the calls at issue.” Id. The defendant argued that the final person Plaintiff spoke to

“may have been working for an authorized third-party seller, rather than Defendant

specifically.” Id. at *7. However, the court quickly shut down this line of argumentation

as “not appropriate for the Court to consider at this stage of the proceedings.” Id. See also


on a Motion to Dismiss. Accordingly, at this stage, the appropriate choice is for the
Court to examine the well-pled Complaint and draw all reasonable inferences in
Plaintiffs’ favor in determining whether Plaintiffs have adequately stated a claim that
could support finding any form of agency liability.


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Lemieux v. Lender Processing Ctr., 2017 U.S. Dist. LEXIS 47139 (S.D. Cal. Mar. 24,

2017) (finding that transferring plaintiff from a first caller—who identified with a different

company—to defendant, is enough facts to allege defendant as “responsible for the

telephone call that allegedly violated the TCPA.”)

       Here, for both Plaintiffs, nearly every speaker identified their affiliation with

Defendant. In fact, at least eight individuals between Plaintiff Hesse and Plaintiff Griffin

explicitly told Plaintiffs that they were calling on behalf of Defendant. Plaintiff Griffin

received three calls from individuals identifying as either Defendant or an agent of

Defendant. FAC ¶¶ 38, 40-41. Furthermore, each subsequent transferred call resulted in

another individual telling Plaintiff Griffin that they called on behalf of Defendant. Id. As

for Plaintiff Hesse, he received three phone calls from the same individual named Sam

with Funeral Expense; however, on the latter two of these calls Sam indicated his

affiliation with Defendant. Id. at ¶¶ 29-31. Like in Wokeman, Defendant spoke to an

individual directly affiliated with the violating party. As such, these are not merely

“conclusory allegations”—no, Defendant either directly or through agents verbally

confirmed its complicity in these unlawful solicitations. Indeed, Plaintiff Griffin even

confirmed that at least one telemarketer, Robert Radcliffe, is designated as a licensed

insurance producer and lists Defendant as his employer. Id. at ¶ 32. Moreover, every

individual that Plaintiffs spoke to attempted to solicit life insurance—the very product that

Defendant sells. Id. at ¶¶ 29-31, 38, 40-42.

       Because the calls all directly promoted Defendant’s products and the last call



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specifically provided a call-back number to Defendant, Plaintiffs have adequately pled

that Defendant directly made the calls at issue.

              ii. Vicarious Liability

       Plaintiffs additionally plead that, in the alternative, the calls were placed by an

agent of Defendant with either formal agency, apparent authority, or ratification. The

Parties agree that in addition to direct liability, a Defendant “may be held vicariously liable

under federal common law agency principles for a TCPA violation by a third-party

telemarketer.” In the Matter of The Joint Petition Filed by Dish Network, LLC, et al., CG

Docket No. 11-50 (FCC 13-54), 28 FCC Rcd 6574, 6582 ¶ 24 (2013) (“2013 FCC Order”)

at ¶ 24. The Ninth Circuit made clear that courts should look to the Restatement (Third)

of Agency for common law agency principles. Henderson v. United Student Aid Funds,

Inc., 918 F.3d 1068, 1072–73 (9th Cir. 2019) (citing Mavrix Photographs, LLC v.

Livejournal, Inc., 873 F.3d 1045, 1054 (9th Cir. 2017)). Accordingly:


       “Agency is the fiduciary relationship that arises when one person (a
       principal) manifests assent to another person (an agent) that the agent shall
       act on the principal’s behalf and subject to the principal’s control, and the
       agent manifests assent or otherwise consents so to act. There are several ways
       to establish an agency relationship, including actual authority and
       ratification. Whether an agency relationship exists is for a court to decide
       based on an assessment of the facts of the relationship and not based on how
       the parties define their relationship . . . Restatement § 4.06 requires that a
       principal knows of the material facts involved in the act it is ratifying. This
       knowledge requirement is met if the principal either has ‘actual knowledge’
       or ‘choose[s] to affirm without knowing the material facts.’ Comment d adds
       that ‘a factfinder may conclude that a principal has made such a choice when
       the principal is shown to have had knowledge of facts that would have led a
       reasonable person to investigate further, but the principal ratified without
       further investigation.’ This can also be described as ‘willful ignorance.’”


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Id. at 1072-74 (internal citations omitted)

       The question of “[w]hether an agency relationship exists is ordinarily a question of

fact.” Kristensen v. Credit Payment Servs., 12 F. Supp. 3d 1292, 1301 (D. Nev. 2014).

“Although the precise details of the agency relationship need not be pleaded to survive a

motion to dismiss, sufficient facts must be offered to support a reasonable inference that

an agency relationship existed.” Id. (emphasis added). The question should be approached

“with a measure of common sense…where the implication is clear from the context.”

Chesbro v. Best Buy Stores, L.P., 705 F.3d 913, 918 (9th Cir. 2012).

                 a. Actual Authority

       “An agent acts with actual authority when, at the time of taking action that has legal

consequences for the principal, the agent reasonably believes, in accordance with the

principal’s manifestations to the agent, that the principal wishes the agent to so act.”

Restatement 3rd of Agency § 2.01. The direct representations of an agent provide strong

evidence for actual authority. Goodell v. BH Auto., LLC, 2023 U.S. Dist. LEXIS 54131, at

*13-14 (D. Ariz. Mar. 29, 2023) (finding against actual authority when “most importantly,

the offending calls here were not made by third-party telemarketers on [defendant’s]

behalf…”).

       Here, Plaintiff Griffin received three calls, all of which provided the same call back

number and promoted Defendant and Defendant’s product. FAC ¶¶ 38, 40-41. Although

each caller initially represented themselves as Senior Final Expenses, each also specifically

stated that they called on behalf of Defendant American Amicable to solicit Defendant’s



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services. Id. Similarly, Plaintiff Hessee received three calls from “Sam from Funeral

Expense,” who promoted Defendant and Defendant’s product. Id. at ¶¶ 29-31. On the latter

two phone calls, Sam explicitly stated he called on behalf of Defendant. Id. at ¶¶ 30-31.

Furthermore, during Plaintiff Hessee’s third call, Sam transferred him to two different

agents. Id. at ¶ 31. While both agents attempted to sell Plaintiff Hesse the same life

insurance as before, one agent lists Defendant on his license with the National Association

of Insurance Commissioners. Id. at ¶ 32.

      Notwithstanding the reasonable inference of agency described from the facts in the

preceding paragraphs, Defendant proffers the idea that the “FAC contains no allegations

that American-Amicable exercised any control over any third party that allegedly made the

calls” ECF No. 14, pp. 22-23. Surely Defendant recognizes that individuals do not simply

promote “American Amicable” as a hobby. Of course not. These same individuals then

transferred calls to agents who also purport to be directly associated with Defendant. The

only reasonable inference from this sequence of events is an agency relationship. FAC ¶

65. Indeed, through any “measure of common sense” actual authority “is clear from the

context.” Chesbro, 705 F.3d at 918. Interestingly, the initial callers—notwithstanding the

fact they specifically said they were calling on behalf of Defendant—each used “company”

names associated with funeral-related insurance preparedness (“Funeral Expense” and

“Senior Final Expenses” respectively). The choice of these similarly titled, generic names

implies a coordinated telemarketing campaign. Combined with (1) Plaintiffs’ inability to

determine the existence of these “companies” through due diligence, and (2) the nearly



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identical method of vetting and transfer (one might even say scripted) that the callers

performed, displays textbook third-party telemarketing. Plaintiff does not rely on “legal

buzzwords,” as Defendant alleges, Plaintiff need only rely on the words of Defendant itself

and its myriad callers who explicitly identified themselves as calling on behalf of American

Amicable.

       Between the promotions of Defendant’s products and Defendant’s call-back

number, Plaintiffs adequately pled actual authority at this stage of the proceedings. See

Armstrong v. Investor’s Bus. Daily, Inc., 2019 U.S. Dist. LEXIS 150169 (C.D. Cal. Mar.

12, 2019) (finding defendant’s reliance on Jones v. Royal Admin. Servs., 887 F.3d 443, 453

(9th Cir. 2018) to be misplaced at the 12(b)(6) stage because actual authority ‘is a multiple

prong fact-intensive inquiry more suitable for summary judgment[.]”) Because Plaintiffs

provided facts indicating the relationship between Defendant and Defendant’s alleged

agent, Plaintiff has properly plead actual authority.

                  b. Apparent Authority

       “Apparent authority is the power held by an agent or other actor to affect a

principal’s legal relations with third parties when a third party reasonably believes the

actor has authority to act on behalf of the principal and that belief is traceable to the

principal’s manifestations.” Restatement 3rd of Agency § 2.03. “If a principal has given

an agent general authority to engage in a class of transactions, subject to limits known

only to the agent and the principal, third parties may reasonably believe the agent to be

authorized to conduct such transactions and need not inquire into the existence of



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undisclosed limits on the agent’s authority. Id. Apparent authority is “established by proof

of something said or done by the [principal], on which [plaintiff] reasonably relied.” NLRB

v. Dist. Council of Iron Workers of Cal. & Vicinity, 124 F.3d 1094, 1099 (9th Cir. 1997).

       In 2013, the FCC issued an order and listed factors that can indicate apparent

authority, of which one is immediately apparent here: “the authority to use the seller’s

trade name, trademark and service mark” In the Matter of The Joint Petition Filed by Dish

Network, LLC et al., FCC 13-54, CG Docket No. 11-50 ¶ 46. The FCC went on to observe

that “at a minimum, evidence of these kinds of relationships – which consumers may

acquire through discovery, if they are not independently privy to such information –

should be sufficient to place upon the seller the burden of demonstrating that a reasonable

consumer would not sensibly assume that the telemarketer was acting as the seller’s

authorized agent…. nothing in our ruling requires a consumer to prove at the time of their

complaint (rather than reasonably allege) that a call was made on the seller’s behalf.” Id.

at ¶ 46 and Fn. 139; See also Hawaiian Paradise Park Corp. v. Friendly Broad. Co., 414

F.2d 750, 756 (9th Cir. 1969) (“In determining whether there was apparent authority, the

factual inquiry is the same as in the case of actual implied authority, except that the

principal’s manifestations to the third person are substituted in place of those to the

agent…[and] may consist of direct statements to the third person”); Rahimian v. Adriano,

2022 U.S. Dist. LEXIS 46437, at *13 (D. Nev. Mar. 16, 2022) (finding against apparent

authority because the agent only identified themselves as a different entity, not referring

to Defendant); Tuso v. Nat’l Health Agents, LLC, 2021 U.S. Dist. LEXIS 115467, at *8



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(E.D. Cal. June 21, 2021) (dismissing apparent authority based on “the complete lack of

contact between Plaintiff and [Defendants]”); Kristensen, 12 F. Supp. 3d at 1302 (Plaintiff

“need not plead the identity of every player in the alleged scheme nor every nuance of the

relationships among the Defendants; indeed, the information necessary to connect all the

players is likely in Defendants’ sole possession”); Ewing v. Freedom Forever LLC, 2021

U.S. Dist. LEXIS 53561, at *10 (S.D. Cal. Mar. 22, 2021) (Apparent authority properly

alleged when the lead source asked specific questions (including scripts to be read) at their

behest; “Courts within this Circuit have found similar, and even less detailed, allegations

adequate to state a claim for vicarious liability and to survive a motion to dismiss”).

Goodell, 2023 U.S. Dist. LEXIS 54131 at *18-19 (finding no apparent authority when

there is no evidence the “unlawful calls took place under [defendant’s] watch or on its

behalf, nor evidence of any other ‘red flags’ that should have alerted [defendant] to

investigate potential violations of the TCPA”).

       Here, Plaintiffs have alleged that the Defendant’s agent placed three calls to both

Plaintiff Hessee and Plaintiff Griffin respectively and subsequently promoted Defendant’s

products. Plaintiffs here have clearly pled that the representatives on the calls were holding

themselves out as representatives of Defendant. So much so, in fact, that Plaintiffs

believed the agents may have been the Defendant itself. Nearly every single caller

identified themselves as calling on behalf of Defendant. FAC ¶¶ 29-31, 38, 40-41.

Furthermore, these callers all began the conversations in much the same manner using a

“final expense” or “funeral” related pitch and probing questions. Moreover, Defendant



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provided Plaintiff Griffin with an identical call back number from each representative, and

Plaintiff Hesse eventually spoke to an individual whose license identifies Defendant by

name.

        It is similarly obvious that some agreement existed between Defendant and its

agents regarding the placing of calls, the promotion of Defendant’s products, and the

transfers of these calls to Defendant. During each call to Plaintiff Griffin, agents indicated

they called on behalf of “American Amicable” and referred specifically to Defendant’s

products. Id. Thus, Defendant had knowledge of the calls being placed, or at the very least,

facilitated a telemarketing campaign using these agents. Clearly, a reasonable consumer—

having heard the same trade name, with the same products, and eventually receiving a

direct transfer and similar call-back numbers—would believe that apparent authority

existed by the initial callers to bind Defendant to these telemarketing calls. Accordingly,

Plaintiffs adequately alleged that Defendant’s agents were acting with apparent authority

adequate to create vicarious liability.

                  c. Ratification

        A principal may ratify the conduct of an agent. “Ratification is the affirmance of

a prior act done by another, whereby the act is given effect as if done by an agent acting

with actual authority.” Restatement 3rd of Agency § 4.01. A person ratifies an act by (a)

manifesting assent that the act shall affect the person's legal relations, or (b) conduct that

justifies a reasonable assumption that the person consents. Id. at § 4.01. “[K]nowing

acceptance of the benefit of a transaction ratifies the act of entering into the transaction.



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This is so even though the person also manifests dissent to becoming bound by the act’s

legal consequences.” Id., Comment d., ¶ 2.

       Defendant ratified its agent’s actions through accepting the benefits of their

telemarketing services. Plaintiff Hessee’s allegation of the third call’s transfer to

Defendant exemplifies the actions of a company which knowingly benefits from another.

FAC ¶ 31. If an individual marketer continuously transfers calls to a company after having

vetted potential consumers, at a certain point—if even no actual authority existed—a

company is bound to investigate. The interactions between Plaintiffs and the callers

presents a significant nexus between the callers and Defendant. And even if Defendant

claims to not know of these callers, “willful ignorance” does not extinguish liability from

the benefits received. Defendant clearly accepted the benefit of its agents’ actions in the

form of telemarketing promotions and transfers to which it attempted to solicit its services.

The acceptance of benefits and continued acceptance of benefits despite knowing what its

telemarketing agents “were doing or, at the very least, knowing of facts that would have

led a reasonable person to investigate” creates agency. Henderson, 918 F.3d at 1072–73

(citing Restatement of Agency § 4.01 cmt. g). Thus, Defendant also ratified the calls at

issue and may be held vicariously liable for the actions of its agent.

       B. Plaintiffs Properly Pled Violations of 47 C.F.R. § 64.1601(e)

       Plaintiffs have properly alleged violations of the TCPA’s caller ID restrictions based

on the FCC’s regulation having been promulgated by 47 U.S.C. § 227(c). As such, the

regulation does not conflate distinct claims; instead, it legitimately pursues both theories



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of liability under the same statutory authority. Additionally, this theory provides a private

right of action as detailed by the reasoning and purpose of the FCC’s adoption of the

National Do-Not-Call rule. Finally, the FAC provides sufficient facts to demonstrate the

violation.

       Under 47 C.F.R. § 64.1601(e), “[a]ny person or entity that engages in

telemarketing…must transmit caller identification information.” The FCC adopted this

regulation in 2003 as part of the FCC’s national do-not-call rule. Federal Commc’ns

Comm’n, Final Rule, 68 Fed. Reg. 44,144, 44,179 (July 25, 2003). The FCC specifically

wrote that these “new rules will also require all companies conducting telemarketing to

transmit caller identification (caller ID) information, when available, and prohibit them

from blocking such information.” Id. at 44,144 ¶ 1. The regulation notes:

       “[C]aller identification information must include either CPN or ANI,
       and, when available by the telemarketer’s carrier, the name of the
       telemarketer. It shall not be a violation of this paragraph to substitute
       (for the name and phone number used in, or billed for, making the
       call) the name of the seller on behalf of which the telemarketing call
       is placed and the seller’s customer service telephone number. The
       telephone number so provided must permit any individual to make
       a do-not-call request during regular business hours…Any person or
       entity that engages in telemarketing is prohibited from blocking the
       transmission of caller identification information.”

47 C.F.R. § 64.1601(e)(1), (2) (emphasis added).

In its adoption of these restrictions, the FCC noted that “[c]aller ID requirements will

improve the ability of consumers to identify and enforce do-not-call rights against

telemarketers.” 68 Fed. Reg. at 44,156 ¶ 65 (emphasis added). Indeed, the FCC adopted

these rules “to provide consumers with several options for avoiding unwanted telephone


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solicitations.” 18 F.C.C. Rcd. 14014, 14017 ¶ 1 (emphasis added). The FCC noted that:

      “Caller ID allows consumers to screen out unwanted calls and to
      identify companies that they wish to ask not to call again. Knowing
      the identity of the caller is also helpful to consumers who feel
      frightened or threatened by hang-up and ‘dead air’ calls.”

68 Fed. Reg. at 44,166 ¶ 124.

      In Worsham v. LifeStation, Inc., the Court extensively explained, why C.F.R. §

64.1601(e) has a private right of action through 47 U.S.C. § 227(c):

       “Section 227(c) authorizes the FCC to promulgate rules to protect
      telephone consumers’ privacy rights and create rules that will allow
      consumers to ‘avoid receiving telephone solicitations to which they
      object…’ Caller ID allows a consumer to ‘make a do-not-call request
      during regular business hours,’ further protecting the subscriber’s
      privacy right by preventing future calls. Although the FCC’s
      consideration of what network information must be transmitted via
      Caller ID is technical, we think it falls within the scope of the
      technologies that § 227(c)(1)(A) directed the FCC to consider in
      protecting the privacy rights of consumers. See 68 Fed. Reg. at
      44,166-67 (evaluating the cost efficiency and availability of different
      network technologies for network transmission).

      Although the question is not free from doubt and the lines between
      regulations authorized by § 227(c) and (d) (or, perhaps, some
      combination of both) could be far clearer, for two reasons, we
      conclude that § 64.1601(e)(1) was promulgated pursuant to § 227(c)
      and, therefore, that a private right of action exists to enforce its
      provisions. First, to the extent the express terms of § 64.1601(e)(1)
      apply to live telemarketing calls, they would exceed the scope of
      regulation authorized by § 227(d), but not the scope of § 227(c).
      Second, by requiring the provision of information expressly for the
      purpose of allowing individuals ‘to make a do-not-call request,’ the
      regulation serves the purpose of § 227(c) of ‘protect[ing] subscribers
      from unrestricted commercial telemarketing calls.’”

Worsham v. LifeStation, Inc., 2021 Md. App. LEXIS 1014 at *46-48 (App.
Nov. 17, 2021).



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       Here, Plaintiffs properly pled violations of 47 C.F.R. § 64.1601(e) under 47 U.S.C.

§ 227(c). As detailed above, it is Plaintiff’s position that the caller ID regulations are

promulgated through § 227(c)’s private right of action. Defendant’s allegation of

conflating distinct claims is also incongruous with other regulatory provisions

promulgated by § 227(c). For instance, if a person revokes consent from a caller they may

plead both standard do-not-call allegations and internal revocation theories of liability

under the same cause of action. Such is also true of the caller ID restrictions. While

Defendant alleges that “[t]hese claims have nothing in common,” it ignores that the

purpose of the caller ID restrictions is to facilitate and assist consumers in enforcing their

do-not-call rights. The caller ID regulations provide a regulatory scaffolding to allow for

the proper enforcement of these rights, much in the same way as internal revocation of

consent.

       Along these same lines, 47 C.F.R. § 64.1601(e) provides a private right of action.

Plaintiff believes this Court should follow the sound reasoning of the Worsham court and

the purpose and reasoning detailed throughout the FCC’s 2003 rule implementing the

National do-not-call rule. Although other courts have held the Caller ID requirements as

promulgated through § 227(d), this line of reasoning is flawed. When the FCC

promulgated § 64.1601(e) in 2003, it cited section 227(d) only twice; both references were

in a paragraph dealing with caller ID requirements for junk faxes. 68 Fed. Reg. at 44,170

¶ 146 (July 25, 2003). Conversely, the FCC cited § 227(c) thirty-six times. Furthermore,

§ 64.1601(e) requires caller ID for all telemarketing calls, regardless of whether they are



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live calls hand-dialed by a telemarketer or are calls that include a prerecorded or artificial

voice. As § 227(d) only relates to procedural standards for faxes and requirements for

prerecorded call transmissions (regardless of whether they include telemarketing

messages), § 227(d) could not have promulgated the Caller ID regulations for

telemarketers under the FCC. Accordingly, § 64.1601(e) contains a private right of action

through § 227(c) of the TCPA.

       Finally, Plaintiff properly pled factual allegations that Defendant failed to adhere

to 47 C.F.R. § 64.1601(e). Plaintiff correctly explained that “[m]ost, if not all, of

Defendant’s unsolicited telemarketing phone calls—including those that when called back

prompted that ‘the text mail subscriber is not working’—did not display the requisite caller

ID information in violation of 47 C.F.R. § 1601(e), as promulgated by 47 U.S.C. § 227(c).”

FAC ¶ 51. Indeed, each “autodialed” number by Plaintiff Griffin, which purportedly came

from the same “Senior Final Expenses” calling on behalf of Defendant, had different

phone numbers. Plaintiff Griffin, unable to call these numbers back, required the

transferring agent to provide a call-back number. Unfortunately, these same call-back

numbers then came back as “not working.” Id. at ¶¶ 38-41. As the purpose of the Caller

ID regulations is, in large part, to provide Plaintiffs with the tools to firmly invoke internal

do-not-call policies, Plaintiffs here did not have that opportunity. Accordingly, Defendant

violated the Caller ID restrictions pursuant to 64 C.F.R. § 1601(e).

       C. Plaintiffs Have Article III Standing to Assert Injunctive Relief

       Plaintiffs have Article III standing to assert injunctive relief as the callers provided



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no guarantee that the calls would cease and continued to call Plaintiffs despite Plaintiffs

repeatedly requesting communications to cease.

       Defendant claims that Plaintiffs have not satisfied the elements of Article III for

injunctive relief because there is no imminent risk of future harm to the Plaintiffs.

Defendants’ argument hedges on the belief that simply because the last call received was

in March 2023 that no future harm could occur. ECF No. 14, p. 32. This is not true.

Plaintiffs’ complaint demonstrated a pattern of unlawful behavior and Defendant has not

provided any reassurances that it will cease. Given Defendant’s penchant for calling

Plaintiffs despite repeatedly asking them not to, Plaintiffs are at risk for future

telemarketing at any time.

       Accordingly, for the same reasons Plaintiffs adequately states a claim, Plaintiffs

adequately supported that this Court has specific jurisdiction over Defendant who targeted

this forum through its telemarketing campaigns.

       D. Request for Leave to Amend

       Should this Court feel that Plaintiffs’ complaint is inadequate at this time, Plaintiff

requests leave to amend the complaint. Plaintiffs’ first amended complaint attempted to

rectify perceived flaws pursuant to Defendant’s original motion to dismiss. As new

arguments have been made, Plaintiff would ask for leave to amend to rectify any perceived

flaws that this Court may find.

       “A complaint should not be dismissed without leave to amend unless amendment

would be futile.” Carolina Cas. Ins. Co. v. Team Equip., Inc., 741 F.3d 1082, 1086 (9th



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Cir. 2014) (citation omitted). Pursuant to Federal Rule of Civil Procedure 15(a)(1)(B), a

“party may amend its pleading once as a matter of course…if the pleading is one to which

a responsive pleading is required, 21 days after service of a responsive pleading or 21 days

after service of a motion under Rule 12(b), (e), or (f), whichever is earlier.” Under Rule

15(a) “there exists a presumption…in favor of granting leave to Amend.” Eminence

Capital, LLC v. Aspeon, Inc., 316 F.3d 1048, 1052 (9th Cir. 2003).

       Here, Plaintiffs have pled in good faith and plausibly alleged the unlawful actions

of Defendant. However, should this Court decide to grant Defendant’s motion, Plaintiffs

request leave to amend the complaint.

V.     CONCLUSION

       Based on the arguments set forth herein, Plaintiffs respectfully ask this Court to

deny Defendant’s Motion in its entirety. Should, however, the Court grant Defendant’s

Motion, in whole or in part, Plaintiffs respectfully request leave to amend the Complaint

of any perceived deficiencies consistent with the policy of favoring amendment that is to

be applied with “extreme liberality.” Morongo Band of Mission Indians v. Rose, 893 F.2d

1074, 1079 (9th Cir. 1990).




Dated: June 20, 2024                      Kazerouni Law Group, APC

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                          CERTIFICATE OF COMPLIANCE


       This brief complies with the applicable word-count limitation under LR 7-2(b),
26-3(b), 54-1(c), or 54-3(e) because it contains 5,753 words, including headings,
footnotes, and quotations, but excluding the caption, table of contents, table of cases and
authorities, signature block, exhibits, and any certificates of counsel.



Dated: June 20, 2024                       Kazerouni Law Group, APC

                                           By:    /s/ David J. McGlothlin
                                                  David J. McGlothlin, Esq.




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